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                            UNITED STATES JUDICIAL PANEL
                                         on
                             MULTIDISTRICT LITIGATION



IN RE: NATIONAL COLLEGIATE ATHLETIC
ASSOCIATION STUDENT-ATHLETE
CONCUSSION INJURY LITIGATION                                                       MDL No. 2492


                           ORDER REASSIGNING LITIGATION


       The Panel has been notified of the need to reassign the above litigation to another judge in
the Northern District of Illinois.

       IT IS THEREFORE ORDERED that, with the consent of that court, this litigation is
reassigned to the Honorable Manish S. Shah for coordinated or consolidated pretrial proceedings
pursuant to 28 U.S.C. § 1407.


                                      FOR THE PANEL




                                      Chair
